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                                              November 20, 2020

The Honorable Timothy J. Savage
United States District Court Judge
Room 7614, United States Courthouse
601 Market Street
Philadelphia, PA 19106

               Re:     Aaron Jones v. Martin Horn, et al.
                       CV No. 96-7544 (Habeas Corpus)

Dear Judge Savage:

        I am writing to update you on the status of this case. On October 27, 2005, you entered
an Order (Doc. 37) in this capital habeas proceeding staying further proceedings and placing this
case in suspense pending the exhaustion of state court remedies. On October 15, 2012, we
notified Your Honor by letter that the round of state court proceedings had been completed.

        Following the United States Supreme Court decision in Williams. Pennsylvania, 136 S.
Ct. 1899 (2016),which held that due process had been violated by then Justice Castille’s
participation in a decision in a case in which he had been substantially involved when he was
District Attorney of Philadelphia, Mr. Jones filed a new post-conviction petition in state court.
Mr. Jones raised due process challenges to Justice Castille’s participation in his direct appeal and
post-conviction appeals. The Court of Common Pleas granted the petition and reinstated Mr.
Jones’s appellate rights. The Commonwealth did not appeal that order, and Mr. Jones filed new
notices of appeal and briefed the issues that had been previously litigated in the prior
proceedings. However, on September 21, 2020, the Pennsylvania Supreme Court issued an order
quashing the appeal, finding that Williams did not provide a basis for a new post-conviction
proceeding. The Court did not reach the merits due process challenges under Williams, nor did it
reach the merits of any of the substantive claims.

      State court remedies are now completed. In the meantime, the parties have recently
engaged in informal discovery as the Philadelphia District Attorney’s Office agreed to allow
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counsel to review some of the available prosecution and police files in the case. That process,
which has been delayed by the restrictions imposed as a result of the COVID-19 pandemic, is
ongoing. Accordingly, counsel respectfully suggests that this matter remain in suspense until
that discovery process can be completed. I have discussed this matter with Assistant District
Attorney Max Kaufman, counsel for Respondents, who agrees with this suggestion.

       The parties are available to conference with the Court, should Your Honor think that
necessary. Thank you for your consideration of these matters.

                                                     Very truly yours,


                                                     /s/Stuart B. Lev
                                                     Stuart B. Lev
                                                     Assistant Federal Defender

cc: Max Kaufman, Esq.
